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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:16CR308

       vs.
                                                                         ORDER
DIANA GUZMAN,

                      Defendant.



       This matter is before the court on the defendant’s Unopposed Motion to Continue Trial
[57]. The co-defendant’s trial was continued to October 31, 2017. Counsel is requesting trial be
continued to the same date. Defendant shall comply with NECrimR 12.1(a). For good cause
shown,

       IT IS ORDERED that the Unopposed Motion to Continue Trial [57] is granted as
follows:

       1. The jury trial, now set for September 26, 2017 is continued to October 31, 2017.

      2. The defendant shall file an affidavit required by paragraph 9 of the progression order
and NE.CrimR 12.1(a) forthwith.

         3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and October 31, 2017, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).


       Dated this 25th day of September, 2017.


                                              BY THE COURT:

                                              s/ Michael D. Nelson
                                              United States Magistrate Judge
